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AO 442 (Rcv\ OUO'?) Arrest Warrani

UNITED STATES DISTR;CT COURT
for the

District of Coiumbia

United States of Amcrica

 

 

 

v. )
RONALD GOLEMAN § Casc NO' 10 ....69 5 _' H _ 0 ]
}
)
Defendcrm
ARRES'I` WARRANT
To: Any authorized law enforcement officer

YOU A`RE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay

(name of person 10 be arresfed) _ RONALD COLEMAN 1
who is accused of an offense or violation based on the following document filed with the court:

IJ Indictrnent I'_'l Superseding Indictment E| Inf`ormation CJ Superseding information Ef Compiaint
CJ Probation Vioiation Petition L'J Superviscd Re!ease Vioiation Petition ij Vioiation Notiec C'.l Order of the Cour'l

This offense is briefly described as follows:

Using any means or facility of interstate commerce. that is a computer knowingly distribute any visuei depiction the
production of which involved the use of a minor engaging in sexually explicit conduct and which visual depiction was of
such conduct '

Date:

_,A...-.

 

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issuing G,Us .:I"Ewlu{'e
q sweden-mem

Prr'msd name and`!:'l!`e

 

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City and staie; L of Commw§

 

 

Return

 

`I`his warrant was received on (dme) , and the person was arreszed on (da:e)
at (ci:ycmdslare,l

Date: ___

 

Arres:rng oj?cer 's signature

 

F)'!med name and fide

 

 

 

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AO 442 (Rev. Dll'09) Arrest Warrant(Pagc 2)

This second page contains personal identiliers provided for law-enforcement use oniy
and therefore should not be filed in court with the executed warrant unless under seal.

OVotfor Public Disc!osure)

Name of defendant/offender RONALD COLEMAN

 

Known aliases:

 

I_,a$t knuwn residence; 30 PENTZ RUN AVENUE, DUBO|S, PENNSYLVAN§A

 

Prior addresses to which defendant/offender may still have ties'.

 

 

Last known employment

 

 

Lest known telephone numbers:

 

 

 

 

 

 

 

Place of birth:

Date of birth: 02!15{1956

Sociel Security numbcr;

Heiglit: Wcigm:

Sex: MALE …_ Race: WHlTE

Hair: Eyes: g

 

 

Scars, tattoos, other distinguishing marks:

 

 

 

 

l-listory of vioience, weapons, drug user

 

KI"IOWn famiiy, friends, and thBl' associates (name` relation address phone number).'

 

 

 

FBI number:

 

Complctc description of auto:

 

 

lrwcstigative agency end eddress:

Name and telephone numbers (oftice and cel!) of pretrial services or probation officer (yapp!tcable):

 

Date of last contact with pretrial services or probation officer (§fapplicabfe):

 

 

 

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A09l (Rev. 08/09) Crim`mal Complain!

UNITED STATES DISTRICT Coon"r

for the
District of Colurnbia

 

 

United States of Amcrica )
v. ) l
noNALo cotter/inn ) ease No. 10 =»6 9 5 _. -“ -» 0 g

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Deferldun!(.\j
CRrMINAL coMPLAINT

I, the complainant in this case, state that the following is true to the best of my knowledge and belief

 

 

On or about the date(s) of Ogtober Yth and ‘l4th, 2010 in the county of in the
District of Columbi§ , the defendant(s) viotated:
Code Section Ojense Descrr'piic)n
18 United States Code, Section(s) Distribution of Chlld Porncgraphy
2252(3)(2)

This criminal complaint is based on these facts:

Using any means of facility on interstate commercel that is a computer knowingly distribute any visual depiction the
production ot which involved the use of a minor engaging in sexually explicit conduct and which visual depletion was ot
such conduct

ij Continued on the attached sheet.

 

 

ompt'ar`ncmt ‘.r signature

 

 

Prz`rrled name and title

Sworn to before me and signed in my presence

Nov 18 ten gas fenton

 

Date :

 

Jud e's'_ ' nature

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Prinred name and title

 

 

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sTATEMENT oF FACTs 10 _6 9 55 _ n m 0 fl
On Thursday October 7, 2010, Timothy Paichak Was acting in an undercover n
capacity as part of a multi- jurisdictional FBZ Task Force and operating out of a satellite
office in Washington, DC. At approximately 1745 hours, Detective Palchak was '
monitoring individuals in the gay.com “daddies” room. This chat room is frequented by
individuals who have a sexual interest in prepubescent children and incest, At
approximately 1745 hours, Detective Palchak observed a member of the chat room using
the name, “fredS 14.“ '[`his individual posted a message in the pubiic area of the chattoom
stating, “Anyone here Share any family with other men? Pvt me”. Using a covert Screen
name, Detective Palchak contacted “fred814” via private instant message within
gay.com. Detective Palchak informed the individual using the name “fred814” (later
identified as defendant RONALD COLEMAN) that he had shared a girlfriend’s 12 year-
old daughter in the past with another male. COLEMAN stated, “If your serious, l will
drive for a 12 yo pussy man email me if your serious ok?” C(]LEMAN provided his
entail address, “fred_814@yahoo.com”
At approximately 1751 hours, COLEMAN emailed Detective Palchal< stating, “I
am so serious to enjoy some tight pussy...” On the same date, Detective Palchalc began a
private Instant Message chat conversation with COLEMAN via Yahoo. COLEMAN was

using the display name of “fred dubois” With an entail address of fred 814@yahoo.corn .

During the course of the online conversation COLEMAN described himself as a
53 year-old divorced male. COLEMAN stated that he had engaged in sex acts with his
granddaughter When she was an infant, and prior to that with his daughter When she also

was an infant. After Detective Palchak sent Via 'Photoshare photographs of s clothed

 

 

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female child whom Detective Palchak represented was a 12 year-old with whom he was
sexually active, COLEMAN stated, “I have the pies to prove that l am not a cop”.
Detective Palchak asked COLEMAN if he had videos as well, and COLEMAN
responded, “YES A LOT”. During this, and subsequent online conversations with
Detective Palchak, COLEMAN expressed interest in engaging in sex acts with the 12
year»old and described specific sexually activiry_he wished to engage in.

During the course of the conversation COLEMAN told Detective Palchak that
he would send videos of child pornography to Detective Palchak if he could speak to the
fictitious child while she was engaging in sexual activity with Detective Palchal<.
Following a purported conversation with the fictitious child, on October 7, 2010,
October 9, 20]0, and October 14, 2010, COLEMAN sent Detective Palchak via emaii a
total of 28 videos depicting prepubescent female children engaging in sexual acts with
adult males including vaginal and oral intercourse, and masturbation, and one video
depicting a dog lickng the vagina of a prepubescent child who is tied in restraints

Investigation by agents of the Federal Bureau of Investigation (FBI) determined
that the intemct Protocol (IP) address used by the individual with the screen name
fred 814_@yahoo.com during the online communications with Detective Palchak
resolved to Nancy Deuel, 30 Pent.z Run Avenue, Du Bois. Permsylvania lSSOI.

Deteotive Palchal< ran a search for any residents at 30 Peritz Run Avenue in
DuBois, PA, and received the following information COLEMAN, a 54-year-old male
and Nancy Deuel, a 51-year~old female reside at that address in Apa.rtment x. Durirrg the
course of the on line ehats with Detective Fa¥chalc, fred 814{0)yahoo.co_r_r_1_, revealed that

he was a divorced White male aged 53 and “very disereet". Based on a further search of

 

 

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“fred814", Detectivc Pa.lchal< found a posting on a dating site plentyot`fish.com where
user name fred8]4 whose heading said, “looking for discreet fun” identified himself as
an Aquarius, in DuBois, PA and 54 years old. Further investigation revealed that
COLEMAN was born on February 15th and is 54 years old. 'l`he zodiac sign of Aquarius
encompasses January let to Fcbruary 19th

According to information from a postal carrier, mail is delivered to Nancy Deuel
at Apartment A and mail is delivered to COLEMAN at Apartment B. COLEMAN‘s
driver’s license comes back to 30 Pentz Run Avenue, Apartment A, I`)ubois, PA. The
2004 White Chevy Monte Carlo which has been observed by law enforcement agents
parked outside of the residence bears PA plate FXW5401 which is registered to
COLEMAN and Nancy J. Deuel at 30 Pentz Run Avenue, Du Bois, PA.

Based on the foregoing, Detective Palcliak believes there is probable cause to
believe that on or about October 7, 2010, October 9, 20]0, and October 14, 2010, within
the District of Columbia and elsewhere, RONALD COLEMAN distributed child

pornography, in violation of Title 18, United States Code, Section 2252(a)(2).

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DE"I`l:/`C'l`I\/’E l§[IGUEL MIRANDA
Metropolitan Police Department

'NUV 1 8 2090

Sworn and subscribed to before me this day of `Noveniber 2010

 

 

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